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                                                  Wednesday, 19 November, 2014 02:18:12 PM
                                                                Clerk, U.S. District Court, ILCD

                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

ESTATE OF AMON PAUL CARLOCK, JR., )
Deceased, by Mary L. Andreatta-Carlock, )
Executor,                               )
                                        )
            Plaintiff,                  )
                                        )
v.                                      )          Case No.: 3:08-cv-03075-SEM-DGB
                                        )
NEIL WILLIAMSON, AS SHERIFF OF )
SANGAMON COUNTY; ANTHONY SACCO, )                  Judge: Sue E. Myerscough
CHIEF DEPUTY; TERRY DURR, JAIL )
SUPERINTENDENT; WILLIAM STRAYER, )
ASSISTANT JAIL SUPERINTENDENT; LT. )
RON BECKNER, ADMINISTRATOR OF )
SANGAMON COUNTY JAIL; LT. CANDACE )
CAIN; LT. TAMMY POWELL; SGT. TODD )
GUY; CO KEVIN FURLONG; NURSE LEE )
ANNE BRAUER, R.N.; NURSE NIECEY )
WEST, L.P.N.; NURSE LUCY RAMSEY, )
L.P.N.;   JOSEPH       MAURER,   M.D.; )
CHAUNCEY C. MAHER, III, M.D. and )
SANGAMON COUNTY,                        )
                                        )
            Defendants.                 )

                            STIPULATION TO DISMISS

      IT IS HEREBY STIPULATED and agreed by and between the parties hereto, by

their respective attorneys, that the above-captioned case be dismissed in its entirety,

with prejudice and without cost to any party, all claims among the parties having been

compromised and settled.

      IT IS FURTHER STIPULATED AND AGREED that said dismissal shall be a bar

to the bringing of any action based on or including any claim for which this action has

been or could have been brought.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2014, I caused to be electronically filed the
foregoing Stipulation for Dismissal with the Clerk of Court using the CM/ECF system that will
send notification of such filing(s) to the following:

       Jon D. Robinson                    Email: jrobinson@brelaw.com
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       Ronald J. Stone                    Email: Rstone@stratton-law.com
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and I hereby certify that I mailed by United States Postal Service, the document(s) to the
following non-registered participants: NONE

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